Case 2:19-cv-00291-JRG-RSP Document 194 Filed 01/05/21 Page 1 of 9 PageID #: 6296




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

    ULTRAVISION TECHNOLOGIES, LLC,          Case No. 2:19-cv-00291-JRG-RSP
                                            (LEAD CASE)
                         Plaintiff,
                                            JURY TRIAL DEMANDED
                v.

    HOLOPHANE EUROPE LIMITED,
    ACUITY BRANDS LIGHTING DE
    MEXICO S DE RL DE CV, HOLOPHANE,
    S.A. DE C.V., AND ARIZONA (TIANJIN)
    ELECTRONICS PRODUCTS TRADE CO.,
    LTD.,

                         Defendants.

    ULTRAVISION TECHNOLOGIES, LLC,          Case No. 2:19-cv-00398-JRG-RSP
                                            (CONSOLIDATED CASE)
                         Plaintiff,
                                            JURY TRIAL DEMANDED
                v.

    YAHAM OPTOELECTRONICS CO., LTD.,

                         Defendant.

          PLAINTIFF ULTRAVISION TECHNOLOGIES, LLC’S SUR-REPLY
      IN FURTHER OPPOSITION TO YAHAM OPTOELECTRONICS CO., LTD.’S
          MOTION TO STRIKE PORTIONS OF THE EXPERT REPORTS OF
                   ZANE COLEMAN AND STEPHEN E. DELL
               CONCERNING UNACCUSED PRODUCTS (DKT. 123)
Case 2:19-cv-00291-JRG-RSP Document 194 Filed 01/05/21 Page 2 of 9 PageID #: 6297


  I.     INTRODUCTION

         Yaham seeks to strike Dr. Coleman’s opinions regarding two categories of products:

  (1) versions of those products identified in Ultravision’s contentions, and (2) products within the

  categories of streetlights, floodlights, and high mast lights identified in Ultravision’s contentions.

  However, Yaham admitted that all but two of the Accused Products subject to this Motion were




                                                                                                Yaham

  cannot plausibly allege that it lacked notice of these Accused Products, or that Ultravision’s

  assertion of identical infringement theories against these products is somehow unfairly prejudicial.

  Accordingly, Yaham’s Motion should be denied in its entirety.

  II.    ARGUMENT

         A.      Ultravision Properly Identified the Accused Products Pursuant to
                 P.R. 3-1(b)




         Each of the products that Yaham seeks to strike are within the series of streetlights,

  floodlights, and high mast lights identified in Ultravision’s contentions.




                        Yaham also does not address that Dr. Coleman’s theory of infringement for
Case 2:19-cv-00291-JRG-RSP Document 194 Filed 01/05/21 Page 3 of 9 PageID #: 6298


  each product with the three accused series is the same, and consistent with Ultravision’s

  infringement contentions. Nor does Yaham articulate any material differences for the purposes of

  infringement within the three series. Yaham’s Motion should be denied because each of the

  supposed “unaccused” products are within the scope of Ultravision’s original infringement

  contentions, were understood by Yaham as within the definition of “LED Lighting Products” for

  the purposes of discovery, and operate identically for the purposes of infringement as the

  specifically charted products.




                                                               Yaham does not contest that streetlight,

  floodlight, and high mast versions of those models are similar to each other.



                                                                                          Products with

  the same names as those charted in Ultravision’s infringement contentions are within the scope of

  those identified, at least based on the fact that they fall within the identified category “similar” to

  the listed versions. Yaham’s motion to strike Dr. Coleman’s and Mr. Dell’s opinions regarding

  versions of Compact S, Linear II, Lumiway I, Lumiway II, and Tri should therefore be denied on

  this ground alone.

         Accordingly Yaham’s Motion should be denied as a threshold matter because Ultravision

  identified all of the allegedly “unaccused” products.

         B.      The Good-Cause Factors Weigh Against Exclusion of Dr. Coleman’s
                 Opinions

         Even if Ultravision’s identification of the Accused Products were found insufficient under

  P.R. 3-1(b), the good cause factors each weigh against striking the opinions of Ultravision’s

  experts.
                                                    2
Case 2:19-cv-00291-JRG-RSP Document 194 Filed 01/05/21 Page 4 of 9 PageID #: 6299


         On Reply, Yaham does not address the availability of a continuance or the importance of

  the opinions to be struck. Specifically, Yaham fails to address that no continuance is necessary for

  it to address Dr. Coleman’s opinions, and fails to address that the opinions at issue concern a

  significant portion of the Accused Products. Both of these factors weigh against striking

  Dr. Coleman’s and Mr. Dell’s opinions.

                 1.      Yaham Has Not Been Unfairly Prejudiced

         Yaham has not been prejudiced by Dr. Coleman’s opinions regarding the allegedly

  unidentified products are the same as his opinions regarding those undisputedly identified.




      Moreover, while disputing whether the Accused Products were properly identified, Yaham

  does not address that the theory of infringement with respect to each product is the same and fails

  to identify any element outside the scope of Ultravision’s original contentions. Because Dr.

  Coleman’s theory of infringement by all products is consistent with that disclosed in Ultravision’s

  original contentions, Yaham has had ample opportunity to address that theory, and has not been

  prejudiced.

         Failing to identify any differences in Ultravision’s infringement or damages theory against

  the Accused Products, Yaham argues that it lost the opportunity to bring some unspecified claim

  construction, damages, invalidity, or non-infringement arguments.




                                                   3
Case 2:19-cv-00291-JRG-RSP Document 194 Filed 01/05/21 Page 5 of 9 PageID #: 6300




                               Yaham cannot plausibly claim unfair prejudice when it was not only

  aware of Ultravision’s original theory of infringement but did not expend any additional effort in

  responding to Ultravision’s theories as to allegedly unidentified products. Nor can Yaham

  plausibly articulate a claim construction or invalidity argument based on allegedly unidentified

  products – it does not. Moreover, to the extent there is any prejudice based on a lack of evidence

  regarding the alleged newly-accused products, it is to Ultravision, not Yaham. Accordingly,

  arguments regarding prejudice are not entitled to any weight.

         Finally, unlike the opinions stricken in the Semcon decision, Dr. Coleman’s opinions are

  consistent with Ultravision’s original contentions. See Semcon IP Inc. v. ZTE Corp., 2:16-cv-

  00437-JRG-RSP, 2018 WL 4501808, at *3 (E.D. Tex. Feb. 28, 2018) (“[T]he original theory,

  which relied on the DVFS framework of the ARM Cortex-A5, Cortex-A7, and Cortex-A9

  processor designs, appears to generally be the same . . . Thus, to the extent that one of the

  originally accused 32 products includes one of these later architectures, reference to the later

  architecture is not stricken.”). As in Semcon, Dr. Coleman’s opinions as to allegedly unidentified

  products should not be stricken because they are the same as those advanced in Ultravision’s

  original contentions. Moreover, as Yaham acknowledges, Mr. Dell’s damages opinions depend

  from Dr. Coleman’s infringement opinions.

         Accordingly, because Yaham has not suffered any unfair prejudice, this factor weighs

  against striking Dr. Coleman’s and Mr. Dell’s opinions.

                 2.     Yaham’s Conduct is the Reason for Any Delay

         Yaham’s statements and behavior during fact discovery demonstrates that it was aware of

  Ultravision’s position that its identification of the floodlight, streetlight, and high mast series

  products included all versions of the YHL-ST, YHL-FL, and YHL-PO products. Based on
Case 2:19-cv-00291-JRG-RSP Document 194 Filed 01/05/21 Page 6 of 9 PageID #: 6301


  Yaham’s apparent agreement that the Accused Products were all identified, Ultravision had no

  reason to seek to supplement its contentions.

         Contrary to Yaham’s assertion that it was “blind-sided,” Yaham has long been aware of

  Ultravision’s position that its identification product series includes versions of those products, and

  ultimately acquiesced with that position during discovery.




         Rather than object that these products were not accused, Yaham proceeded to supplement

  its interrogatory responses.

          Despite this record, Yaham laid behind the log, and allowed Ultravision to proceed under

  the impression that it did not contest that the floodlight, streetlight, and high mast products at issue

  were identified. Orion IP, LLC v. Staples, Inc., 407 F. Supp. 2d 815, 817–18 (E.D. Tex. 2006) (“A

  defendant cannot lay behind the log until late in the case and then claim it lacks notice as to the

  scope of the case or the infringement contentions. . . the burden of notice the Patent Rules place

  on plaintiffs is intended to be a shield for defendants, not a sword.”). Yaham thus waived its

  arguments that the products at issue were unidentified and should not be allowed to raise them

  here for the first time. Accordingly, this factor further weighs against striking Dr. Coleman’s and

  Mr. Dell’s opinions.

  III.    CONCLUSION

          For all the foregoing reasons, Yaham’s Motion should be denied in its entirety.

                                                     5
Case 2:19-cv-00291-JRG-RSP Document 194 Filed 01/05/21 Page 7 of 9 PageID #: 6302


  Dated: December 29, 2020                  Respectfully submitted,

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                                        6
Case 2:19-cv-00291-JRG-RSP Document 194 Filed 01/05/21 Page 8 of 9 PageID #: 6303
Case 2:19-cv-00291-JRG-RSP Document 194 Filed 01/05/21 Page 9 of 9 PageID #: 6304




                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on December 29, 2020, a true and correct copy of

  the above and foregoing has been served by email on all counsel of record.

                                              /s/ Alfred R. Fabricant
                                                 Alfred R. Fabricant
